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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA
--------------------------------------------------------------- X
 UNITED STATES STEEL CORPORATION,                               :
 NIPPON STEEL CORPORATION, and NIPPON :                             Civil Action No.: 2:25-cv-15
 STEEL NORTH AMERICA, INC.,                                     :
                                                                :
                            Plaintiffs,                         :
                                                                :   JURY TRIAL DEMANDED
          vs.                                                   :
                                                                :
 CLEVELAND-CLIFFS INC., LOURENCO                                :
 GONCALVES, and DAVID McCALL,                                   :
                                                                :
                            Defendants.                         :
--------------------------------------------------------------- X


                 PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


        Plaintiffs United States Steel Corporation (“U. S. Steel”), Nippon Steel Corporation, and

Nippon Steel North America, Inc. (“NSNA” and, together with Nippon Steel Corporation, “NSC”)

hereby move this Court for an Order preliminarily enjoining performance of an unlawful

agreement between Cleveland-Cliffs Inc. (“Cliffs”), its CEO Lourenco Goncalves, and David

McCall, President of the United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied

Industrial and Service Workers International Union (“USW”) pursuant to which Defendants have

agreed to support an acquisition of U. S. Steel only by Cliffs, to seek to force U. S. Steel to

acquiesce in such an acquisition, and to thwart a proposed $14.9 billion merger between U. S. Steel

and NSC (the “Merger”). As set forth in the accompanying Complaint (Dkt. No. 1), the unlawful

agreement and the Defendants’ performance of it violate Sections 1 and 2 of the Sherman Act,

among other laws, and tortiously interfere with the Merger. Absent relief, Cliffs’ and the USW’s

unlawful agreement will harm competition in vital iron and steel markets, as U. S. Steel will be

deprived of the technological and capital investment it needs to counteract Cliffs’ monopolization
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campaign. And NSC will be deprived of the unique opportunity to expand its U.S. business

operations in a similarly transformative way. The damage to Plaintiffs and the thousands of

workers whose jobs are at stake will be irreversible and will not be redressable by monetary

damages. Likewise, the unique and valuable opportunity of the transaction for U. S. Steel’s public

stockholders may forever be lost. Only an injunction can protect Plaintiffs from the ongoing harm

that is certain to continue absent judicial intervention.

        President Biden’s recent Executive Order blocking the Merger does not put an end to

Defendants’ conspiracy. The public interest demands that U. S. Steel be allowed to seek out the

full panoply of alternatives to strengthen its competitive position, rather than being forced to

contend with an unlawful agreement that materially limits its strategic options. Plaintiffs are

challenging the Executive Order in parallel litigation in the U.S. Court of Appeals for the District

of Columbia Circuit. If that challenge succeeds, Defendants will continue to disrupt the Merger.

And even if that challenge is unsuccessful, Defendants will continue to use their unlawful

agreement to deter partners other than Cliffs from emerging, and to otherwise limit U. S. Steel’s

ability to pursue strategic alternatives.

        The grounds for this Motion for Preliminary Injunction will be further set forth in a brief

to be filed on March 31, 2025, pursuant to the proposed schedule set forth in Plaintiffs’ Motion for

Expedited Proceedings Relating to Unlawful Agreement Between Cleveland-Cliffs Inc. and

United Steelworkers Union (Dkt. No. 4), or at such other time as may be ordered by the Court.




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January 6, 2025                           Respectfully submitted,


                                                 /s/ Thomas E. Birsic
OF COUNSEL:                                     Thomas E. Birsic (PA 31092)
                                                Eric R.I. Cottle (PA 78152)
Grant R. Mainland (NY 4628319)                  Wesley A. Prichard (PA 324411)
James H. Weingarten (DC 985070)                 K&L GATES LLP
(pro hac vice forthcoming)                      K&L Gates Center
MILBANK LLP                                     210 Sixth Avenue
55 Hudson Yards                                 Pittsburgh, PA 15222
New York, NY 10001                              Phone: (412) 355-6538
Phone: (212) 530-5000                           Fax: (412) 355-6501
Fax: (212) 530-5219                             thomas.birsic@klgates.com
gmainland@milbank.com                           eric.cottle@klgates.com
jweingarten@milbank.com                         wesley.prichard@klgates.com

Jonathan M. Moses (NY 2836054)            Attorneys for Plaintiff United States Steel
Adam L. Goodman (NY 5207816)              Corporation
(pro hac vice forthcoming)
WACHTELL, LIPTON, ROSEN & KATZ
51 West 52nd Street
New York, NY 10019
Phone: (212) 403-1000
Fax: (212) 403-2000
jmmoses@wlrk.com
algoodman@wlrk.com

                                                /s/ Daniel I. Booker
OF COUNSEL:                                     Daniel I. Booker (PA 10319)
                                                Christopher R. Brennan (PA 313534)
David B. Hennes (NY 2773190)                    REED SMITH LLP
Alexander B. Simkin (NY 4463691)                225 Fifth Avenue
Andrew S. Todres (NY 5347521)                   Pittsburgh, PA, 15222
Stefan P. Schropp (DC 1026864)                  Phone: (412) 288-3131
(pro hac vice forthcoming)                      Fax: (412) 288-3063
ROPES & GRAY LLP                                DBooker@reedsmith.com
1211 Avenue of the Americas                     CBrennan@reedsmith.com
New York, NY 10036
(212) 596-9000                            Attorneys for Plaintiffs Nippon Steel Corporation
David.Hennes@ropesgray.com                and Nippon Steel North America, Inc.
Alexander.Simkin@ropesgray.com
Andrew.Todres@ropesgray.com
Stefan.Schropp@ropesgray.com




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